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 EXHIBIT 41
                                                                                                                                                                                 HUNTERS CAPITAL
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                                                                                                                                                                                  ,. EXHIBIT
Message                                                                                                                                                                                    149
From
                                                                                                                                                                                          Oaksmith
                               Rich      Fox    richwei-mac com                                                                                                                           1/20/2022
                                                                                                                                                                                          Lauren Harty, CCR
Sent                           614 2020 4 1925 AM
To                             Jill    Cronauer        Jill    hunterscapital com

Subject                        Re Lawsuit




Hey Jill             that's           great news actually                    I   was going           to   email you after being up there and say that                        I   really   don't

think         we have anything                        to add        to the       lawsuit       It   turns out the                that   broke in is a known           neighborhood
                                                                                                                           guy                                                               guy
with mental health issues plus we're outside of the zone                                                           Other than being closed for the two                    days out of

concern             for the           staff and         losing a limited amount of sales due to doing take                                          out sales which      was our choice               it's


nothing             worse than what we were dealing with with the protests and nightly dispersals I know there                                                                        are     others

that      are      not in the                same boat and suffering from greater impacts so I get                                            if   something      needs to move forward in

the future            on other's behalf


Thanks             for        reaching out



Cheers
Rich     Fox

Operating           Owner

                                                                      G DU T 4 S 10 E PIZZ R




On Jun 13 2020 at 907 PM Jill                                          Cronauer                                                           wrote



Hi     Rich



After         visiting        the Capitol            Hill
                                                            Occupy     Protest       CHOP today                 formally known           as   CHAZ      They may have        received     some pro
bono          legal   advice as protests                      are   not illegal      it    seems best to wait on              filing    the lawsuit          As you are well aware the

neighborhood                   saw more positive energy today than                                   in   the   last   9   months      People came from far and wide to the only

festival           allowed            for the       foreseeable        future      which       created      a   very inviting       and safe vibe which           has been   shared widely            in


the media                If
                              only that would                 last




It     seems like it            will     be    in   everyone's         best interest to wait                a   week on the       lawsuit          and see   how things go The      risks at this

point         in   time outweigh                    the gains



Have                          rest of
              a good                         your weekend



Jill    Cronauer

COO       I
               Hunters Capital

Designated               Broker          I
                                              Hunters Capital Real                Estate

0 206328 3333
C 206 300 6995




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